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              IN THE UNITED STATES COURT OF APPEALS
                    FOR THE ELEVENTH CIRCUIT


National Small Business United, et al.,

            Plaintiffs-Appellees,

                        v.                                  No. 24-10736

U.S. Department of the Treasury, et al.,

            Defendants-Appellants.


   JOINT MOTION TO EXPEDITE BRIEFING AND ARGUMENT
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              CERTIFICATE OF INTERESTED PERSONS AND
                CORPORATE DISCLOSURE STATEMENT

       Pursuant to Eleventh Circuit Rule 26.1-1, undersigned counsel certifies that the

following persons have an interest in the outcome of this appeal:

       Alabama Property Management, Inc.

       Bardwell, Will.

       Barger, James Frederick Jr.

       Burke, Liles C., U.S. District Judge

       Boynton, Brian M.

       Brown, Kenyen.

       Das, Himamauli, former Acting Director of the Financial Crimes Enforcement

       Network

       Gacki, Andrea, Director of the Financial Crimes Enforcement Network

       Hazel, Steven H.

       Healy, Terence M.

       Kelleher, Diane.

       Lee, Thomas.

       McCracken, Todd.

       Miller, Kristen Paige.

       National Small Business United


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       Neiman, John C. Jr.

       Pitz, Taylor.

       Robinson, Stuart Justin.

       Tenny, Daniel.

       U.S. Department of the Treasury

       Walthall, James Elliott.

       Winkles, Isaac.

       Yellen, Janet, Secretary of the U.S. Department of the Treasury




                                              Respectfully submitted,


                                                 s/ Steven H. Hazel
                                               STEVEN H. HAZEL




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      JOINT MOTION TO EXPEDITE BRIEFING AND ARGUMENT

       The parties respectfully request that the Court expedite briefing and argument

in this case. Expedition is warranted in light of the January 1, 2025, deadline by which

most covered entities must comply with the challenged statute, which has been

declared facially unconstitutional by the district court. The parties have agreed on a

briefing schedule and respectfully request that the Court schedule oral argument at the

next available argument session after the conclusion of briefing.

       1. This appeal arises from a challenge to the Corporate Transparency Act

(CTA), a component of the Anti-Money Laundering Act of 2020, Division F of the

National Defense Authorization Act for Fiscal Year 2021. See Pub. L. No. 116-283,

§§ 6002-6511, 134 Stat. 3388, 4547-4633 (2021). The CTA requires certain entities

formed under State or Tribal laws—“reporting companies”—to file or update

information regarding their “beneficial owners” and, under certain circumstances, the

“applicants” who formed the reporting companies. See 31 U.S.C. § 5336(b). The

CTA requires that disclosures be submitted to the Department of the Treasury’s

Financial Crimes Enforcement Network (FinCEN) and authorizes FinCEN to share

the disclosed information with various law-enforcement agencies and other entities in

certain circumstances, to facilitate prosecution and deterrence of money laundering

and terrorist financing. See id. § 5336(b)(1), (c)(2).

       For most companies covered by the CTA, the deadline for filing disclosures is

January 1, 2025. By that date, covered companies formed before January 1, 2024,
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must submit the required information to FinCEN. See 31 C.F.R. § 1010.380(a)(1)(iii).

Covered companies established during 2024 must file the requested information

within 90 days of their formation, see id. § 1010.380(a)(1)(i)(A); covered companies

established after 2024 will be required to file information within 30 days of their

formation, see id. § 1010.380(a)(1)(i)(B).

       Plaintiffs in this case are an individual business owner and an organization that

represents approximately 65,000 small businesses across the United States. Plaintiffs

claim that the statute is facially unconstitutional because it exceeds Congress’s

constitutional powers, violates individual constitutional rights, and is

unconstitutionally vague. The district court held that the statute “exceeds the

Constitution’s limits on Congress’ power” and permanently enjoined the government

“from enforcing the Corporate Transparency Act against the Plaintiffs.” Final

Judgment, NSBU v. Yellen, No. 22-cv-1448 (N.D. Ala. Mar. 1, 2024), ECF No. 52.

The government maintains that the district court erred and that the statute is

consistent with the Constitution.

       2. The parties respectfully request expedited briefing and argument in this case.

As noted, January 1, 2025, is the date by which most covered companies will need to

file the required disclosures. All parties therefore seek clarity in advance of that date.

The government respectfully suggests that the validity of an Act of Congress should

be determined without unnecessary delay, and that the CTA should be allowed to take
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effect as a critical component of the government’s efforts to combat money

laundering, terrorist financing, and other criminal activities. Plaintiffs request

expedited consideration because the government has announced that it will continue

to enforce the CTA against all other members of the public besides Plaintiffs despite

the district court’s declaration that the law is unconstitutional, and submit that

definitive resolution of these important constitutional questions before the January 1,

2025 effective date would be in the public interest.

       The parties accordingly jointly propose that the Court set the following briefing

deadlines:

       Government’s opening brief and appendix:           April 15, 2024
       Plaintiffs’ answering brief:                       May 13, 2024
       Government’s reply brief:                          June 3, 2024


       The parties also propose that the Court hear oral argument in this case on the

earliest available date following June 3, 2024.
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 Respectfully submitted,                  Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      I certify that this motion to expedite, filed on March 20, 2024, complies with the

type-volume limitation of Federal Rule of Appellate Procedure 27(d), because it

contains 602 words according to the count of Microsoft Word and is printed in

Garamond 14-point font.



                                                /s/ Steven H. Hazel
                                                Steven H. Hazel
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                            CERTIFICATE OF SERVICE

       I hereby certify that on March 20, 2024, I electronically filed the foregoing

motion with the Clerk of the Court by using the appellate CM/ECF system. I certify

that the participants in the case are registered CM/ECF users and that service will be

accomplished by the appellate CM/ECF system.




                                                     /s/ Steven H. Hazel
                                                    Steven H. Hazel
